Case 3:11-cr-00015-NKM Document 70 Filed 07/16/21 Page 1 of 10 Pageid#: 357




                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF VIRGINIA
                               CHARLOTTESVILLE DIVISION


  UNITED STATES OF AMERICA,                          CASE NO. 3:11-cr-15

  v.
                                                     MEMORANDUM OPINION
                                                     & ORDER
  EMMANUEL LEWIS HUGGINS,

                                      Defendant.      JUDGE NORMAN K. MOON




       In 2011, Defendant Emmanuel Lewis Huggins pleaded guilty to one count of conspiracy

to possess with intent to distribute 100 grams or more of a detectable amount of PCP, in violation

of 21 U.S.C. § 846. The Court sentenced Huggins to 150 months, after the Government filed a

substantial assistance motion. Huggins now seeks a reduction of his sentence to time served, based

on extraordinary and compelling circumstances pursuant to 18 U.S.C. § 3582(c)(1). Huggins

argues that two extraordinary and compelling circumstances warrant his release. First, he claims

that his health conditions—specifically his sarcoidosis and asthma—put him at a higher risk of

contracting COVID-19 and suffering severe complications should he contract the virus. Second,

he claims that he would no longer be sentenced as a career offender under the sentencing guidelines

after United States v. Norman, 935 F.3d 232 (4th Cir. 2019). The Government opposes Huggins’

motion.

       The Court finds that the disparity in length of sentence Huggins would face today, post-

Norman, is an extraordinary and compelling circumstance that warrants relief. Taking the

§ 3553(a) factors into account, the Court will reduce Huggins’ sentence to time served plus

fourteen days, and grant his motion for compassionate release.

                                                1
Case 3:11-cr-00015-NKM Document 70 Filed 07/16/21 Page 2 of 10 Pageid#: 358




                                            BACKGROUND

       The Blude Ridge Narcotics Task Force initiated an undercover investigation into the

distribution of PCP throughout Culpeper, Virginia, in the summer of 2010. Dkt. 33 ¶ 7. Through

the use of confidential informants, officers identified Huggins as the source of PCP distribution.

Id. During the investigation, confidential informants made seven controlled PCP purchases from

Huggins’ co-conspirators. Id. ¶ 8. The officers arrested Huggins in March 2011. Id. ¶ 9. Overall,

Huggins was responsible for distribution or possession with intent to distribute at least 1065 grams

(38 ounces) of PCP during the conspiracy. Id. ¶ 10.

       In April 2011, a federal grand jury returned a four count indictment against Huggins. Id.

¶ 1. The Government charged him with conspiracy to distribute and possession with intent to

distribute 100 grams or more of PCP (count one); distribution of PCP (count two); distribution of

100 grams or more of PCP (count three); and possession with intent to distribute 100 grams or

more of PCP (count four). Id. Soon after, the Government filed a notice of enhanced penalty based

on Huggins’ 2004 conviction for distribution of cocaine. Id. ¶ 2.

       On June 13, 2011, Huggins pleaded guilty to count one of the indictment, pursuant to the

terms of a written plea agreement. Dkts. 23, 26. In exchange for his plea, the Government, among

other things, agreed to dismiss all other counts against Huggins, stipulated that Huggins would

receive a reduction for acceptance of responsibility, and agreed to a sentencing guideline

calculation. Dkt. 26. His recommended guideline range was 262 to 327 months, based on a total

offense level of 34 and a criminal history category of VI. Dkt. 33 ¶ 55. Prior to sentencing, the

Government filed a motion for substantial assistance, which the Court granted. Dkt. 32. The Court

sentenced Huggins to 150 months’ incarceration and eight years of supervised release on count

one. In 2015, the Court denied Huggins’ Amendment 782 motion because he had been sentenced



                                                 2
Case 3:11-cr-00015-NKM Document 70 Filed 07/16/21 Page 3 of 10 Pageid#: 359




under the career offender guideline range, making him ineligible for reduction under 18 U.S.C.

§ 3582(c)(2). Dkts. 43, 44.

       Huggins currently resides in a halfway house through the Residential Reentry Management

program. Dkt. 61 at 3. He has completed over 90 percent of his sentence and is scheduled for

release on December 4, 2021. Id.; Dkt. 57 at 2.



                                           DISCUSSION

       Generally, “[t]he court may not modify a term of imprisonment once it has been imposed.”

18 U.S.C. § 3582(c). A defendant seeking relief under § 3582(c)(1)(A) has the burden of

establishing that compassionate release is warranted. See United States v. Hamilton, 715 F.3d 328,

337 (11th Cir. 2013); United States v. McMillan, No. 7:08-cr-31, 2020 WL 3213399, at *2

(W.D. Va. June 15, 2020). If a defendant has exhausted his remedies and shows that extraordinary

and compelling reasons support a sentence reduction, the Court must consider the applicable

sentencing factors under 18 U.S.C. § 3553(a) to determine whether a reduction is appropriate. See

18 U.S.C. § 3582(c)(1)(A).

                              1. Exhaustion of Administrative Remedies

       The parties agree that Huggins exhausted administrative remedies. Dkt. 61 at 6;

Dkt. 57 at 2; Dkt. 57-1. Huggins petitioned the warden for compassionate release on January 4,

2021 and more than thirty days have elapsed without a response. Dkt. 57-1. Accordingly, the Court

agrees with the parties and finds that Huggins satisfied the exhaustion requirement.

                              2. Extraordinary and Compelling Reasons




                                                  3
Case 3:11-cr-00015-NKM Document 70 Filed 07/16/21 Page 4 of 10 Pageid#: 360




       The Fourth Circuit has held that “district courts are ‘empowered to consider any

extraordinary and compelling reason for release that a defendant might raise.’” United States v.

McCoy, 981 F.3d 271, 284 (4th Cir. 2020) (emphasis in original).

       Huggins makes two arguments in support of his motion for compassionate release: (1) that

his medical conditions make him more susceptible for contracting COVID-19 and more likely to

suffer serious consequences if he does contract COVID-19, and (2) that the Fourth Circuit’s

holding in Norman—that conspiracy to possess a controlled substance with intent to distribute a

controlled substance in violation of 21 U.S.C. § 846 is not categorically a “controlled substance

offense” under U.S.S.G. § 4B1.2(b)—constitutes an extraordinary and compelling circumstance

warranting release. See 935 F.3d at 239. The Court considers each argument in turn.

     a. Particularized Susceptibility to and Increased Risk of Contracting COVID-19

       “In the context of the COVID-19 outbreak, courts have found extraordinary and compelling

reasons for compassionate release when an inmate shows both a particularized susceptibility to the

disease and a particularized risk of contracting the disease at his prison facility.” United States v.

Blevins, 832 F. App’x 192, 192 (4th Cir. 2020) (per curiam).

       The parties do not dispute that Huggins is diagnosed with sarcoidosis and asthma. Dkt. 61

at 8; Dkt. 57 at 7–8. However, these conditions do not rise to the level of extraordinary and

compelling circumstances. Although the Centers for Disease Control (“CDC”) recognize

“moderate-to-severe” asthma as a co-morbidity factor that may place an individual at a heightened

risk of severe illness from COVID-19, Huggins’ medical records indicate that his asthma is in

“remission” and controlled by albuterol to be used “as needed.” Dkt. 65 at 1, 8. The CDC does not

recognize sarcoidosis as a risk factor at all. Additionally, Huggins was diagnosed with COVID-19

earlier this year and was asymptomatic and found to have clear lungs and stable vital signs. Id. at



                                                  4
Case 3:11-cr-00015-NKM Document 70 Filed 07/16/21 Page 5 of 10 Pageid#: 361




2, 14–15. Huggins’ arguments are undercut by his prior diagnosis and reaction to COVID-19. For

these reasons, the Court concludes that Huggins’ has not met his burden to show that his medical

conditions constitute an extraordinary and compelling circumstance warranting release.

                   b. Norman’s Impact on Career Offender Enhancement

       Huggins also argues that the Fourth Circuit’s holding in Norman—that conspiracy to

possess a controlled substance with intent to distribute a controlled substance in violation of

21 U.S.C. § 846 is not categorically a “controlled substance offense” under U.S.S.G. § 4B1.2(b)—

constitutes an extraordinary and compelling circumstance warranting release. See 935 F.3d at 239.

       Although the Fourth Circuit has held that Norman’s holding must be applied to a

recalculation of the guidelines range upon resentencing under the First Step Act, see Lancaster,

997 F.3d at 175, 177, it has not yet considered whether Norman’s holding, standing alone,

constitutes an extraordinary and compelling circumstance warranting relief.

       However, the Fourth Circuit has held that a district court may consider “the severity of the

defendant[’s] . . . sentence[] and the extent of the disparity between the defendant[’s] sentence[]

and [that] provided for under [current law]” when deciding a motion for compassionate release.

McCoy, 981 F.3d at 286. In McCoy, the Fourth Circuit considered a similar non-retroactive change

in the law with an “exceptionally dramatic” impact on sentencing—“[t]he First Step Act’s

clarification of § 924(c).”—and determined that “stacked” § 924(c) sentences can constitute an

“extraordinary and compelling” reason for relief under § 3582(c)(1)(A). Id. at 285. The court

pointed to “two distinct features” of § 924(c) sentences relevant to applying the “extraordinary and

compelling” reason standard: (1) “the sheer and unusual length of the sentences,” particularly in

comparison to the “national average for a federal murder sentence in fiscal year 2018[, which] was

291 months,” or just over 24 years, and (2) the “gross disparity between those sentences and the



                                                 5
Case 3:11-cr-00015-NKM Document 70 Filed 07/16/21 Page 6 of 10 Pageid#: 362




sentences Congress now believes to be an appropriate penalty for [a defendant’s] conduct.” Id.

(internal quotation marks and citations omitted).

       Following McCoy, other district courts in this Circuit have found that they “may consider

changes in sentencing law—even nonretroactive ones—in assessing whether a defendant has

shown extraordinary and compelling reasons warrant a reduction in his sentence.” United States

v. Stuart, No. 5:92-CR-114-BR-3, 2020 WL 7232074, at *3 (E.D.N.C. Dec. 8, 2020). Two courts

have specifically addressed defendants’ arguments that they would no longer be considered career

offenders under Norman if sentenced today. See United States v. Trice, No. 7:13-CR-34-1, 2021

WL 402462, at *3 (W.D. Va. Feb. 3, 2021) (Conrad, J.) (finding extraordinary and compelling

reason for compassionate release where defendant sentenced to 151 months, a downward departure

from his career offender guideline range of 262 to 327 months, would face a guideline range of

100 to 125 months after Norman); see also United States v. Spencer, — F. Supp. 3d —, No. 2:11-

cr-30, 2021 WL 713287, at *3–4 (E.D. Va. Feb. 24, 2021), appeal filed, No. 21-6346 (4th Cir.

Mar. 8, 2021) (concluding that defendant’s history and characteristics—including “an

exceptionally lengthy adult criminal history,” being “incarcerated for substantial periods of time

prior to the instant offense,” and engaging “conduct with respect to the instant offense . . . almost

immediately after he was released from prison”—counseled against finding extraordinary and

compelling reasons for sentence reduction even though defendant sentenced to 235 months, the

top of his career offender guideline range of 188 to 235 months, would face a guideline range of

110 to 137 months after Norman).

       Here, Norman would change Huggins’ original guideline range from 262 to 327 months

to 120 to 150 months. Neither the original guideline range nor the post-Norman guideline range

approaches a sentence of “sheer and unusual length” comparable to the ones that the Fourth Circuit



                                                 6
Case 3:11-cr-00015-NKM Document 70 Filed 07/16/21 Page 7 of 10 Pageid#: 363




considered in McCoy. 981 F.3d at 285 (noting that today, the defendants’ sentences would be

“dramatically shorter— in most cases, by 30 years—than the ones they received”). Still, the

applicable guideline range, had Huggins been sentenced today, is more than half of what it was

originally—simply because he was sentenced before Norman. That difference is also present when

taking into account the Government’s substantial assistance motion, which was an approximately

42% downward departure from the low-end of the guidelines. The same accounting would place

Huggins within a range of 70 to 87 months today. The sentence Huggins received is at least 63

months, or more than five years, longer than the high end of this revised guideline range, and

nearly twice the median of this revised range. While not as dramatic as the decades-long

differences the Fourth Circuit considered in McCoy, the Court finds a “gross disparity” in the

sentences that is not warranted. 981 F.3d at 285.1

        Under these circumstances, the Court finds that Huggins’ sentence is an “extraordinary and

compelling” reason warranting a sentence reduction in light of Norman.

                               3. Consideration of § 3553(a) Factors

        If the Court finds extraordinary and compelling reasons that would support a sentence

reduction, it still must “consider[] the factors set forth in section 3553(a) to the extent that they are




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          The Court is also unpersuaded by the Government’s argument that if Huggins had been
sentenced after the decision in Norman, that the Government would have offered him a different
plea. Dkt. 61 at 14–15. Indeed, numerous cases in this district have rejected the Government’s
argument. See United States v. Steppe, 3:16cr22, ECF 328 (W.D. Va. Apr. 20, 2021) (Conrad, J.)
(“[T]his Court has repeatedly rejected attempts by the government to argue it would have chosen
a different prosecutorial strategy had different law governed at the time.”); United States v. Smith,
379 F. Supp. 3d 543, 548 (W.D. Va. 2019) (Urbanski, C.J.) (“The retroactive assumption suggested
by the government simply is too speculative a basis on which to determine [the defendant’s]
eligibility for a sentence reduction); United States v. Stanback, 377 F. Supp. 3d 618, 624 (W.D.
Va. 2019) (Urbanski, C.J.).
                                                   7
Case 3:11-cr-00015-NKM Document 70 Filed 07/16/21 Page 8 of 10 Pageid#: 364




applicable.” 18 U.S.C. § 3582(c)(1)(A); see also United States v. Kibble, 992 F.3d 326, 331–32

(4th Cir. 2021).

       To start, the nature and circumstances of the underlying offense are serious. As the supplier

of the conspiracy, Huggins trafficked over 1000 grams of PCP into the Western District. Dkt. 33

¶¶ 8–9. His arrest also came while still under supervision for two prior felony convictions. Id. ¶¶

23–25, 28, 31, 34.

       With respect to the defendant’s history and characteristics and the need for the sentence to

provide him with treatment or training, Huggins submits that he has been rehabilitated while

incarcerated. BOP classifies him as a low security risk—signified by his current custody at a

halfway house. Dkt. 57-3. Huggins does have a single serious disciplinary charge for fighting with

another inmate. Id. However, the infraction was seven years ago, in 2014, and he has had a clean

disciplinary record since that time. Huggins completed his GED while serving a prior sentence,

but continues to take classes ranging from parenting and personal finance to starting a small

business to Spanish. Id. The BOP has approved Huggins’ release plan. Dkt. 57 at 2. He plans to

live with his fiancée in Waldorf, Maryland. Id. And, as mentioned, he has completed over 90

percent of his sentence.

       The Court must also consider the need for the sentence to afford adequate deterrence to

criminal conduct and to protect the public from Huggins’ criminal conduct. Huggins currently

resides at a halfway house where he interacts daily with the community. The Government does not

put forward any argument as to how an additional five months in the halfway house would better

protect the community from criminal conduct.

       Finally, the Court must consider the need for the sentence to provide just punishment for

Huggins’ offense. As noted above, following Norman, Huggins’ original guideline range of 262



                                                8
Case 3:11-cr-00015-NKM Document 70 Filed 07/16/21 Page 9 of 10 Pageid#: 365




to 327 months would become 120 to 150 months without the career offender enhancement. Taking

into account a 42% downward departure of the high end of that range would put him at a sentence

of 87 months today.

       The Court finds that immediate release would promote respect for the law, provide just

punishment for Huggins’ offense, adequately deter criminal conduct, and protect the public from

Huggins’ crimes. The Court is encouraged by Huggins’ positive conduct while incarcerated and

finds that his rehabilitation, in light of the post-Norman changes to his guidelines calculations,

outweighs the factors supporting continued incarceration. Accordingly, the Court finds that a

sentence of time served plus fourteen days, followed by an eight-year term of supervised release,

results in a sufficient, but not greater than necessary sentence.



                                          CONCLUSION

       For the reasons stated herein, the Court GRANTS Huggins’ motion for compassionate

release under 18 U.S.C. § 3582(c)(1)(A). Dkt. 47. Specifically, the Court MODIFIES Huggins’

sentence to time served plus fourteen days, followed by an eight-year term of supervised release.

As Huggins notes in his supplemental response, Dkt. 69, the additional fourteen days allow him to

look for meaningful work near his planned residence—to avoid a lapse in income—and provide

him the opportunity to give proper notice of his impending departure to his current employer.

Importantly, the U.S. Probation Office will have adequate time to verify, assess, and approve

Huggins’ release plan.

       It is so ORDERED.

       The Clerk of Court is directed to send this Memorandum Opinion and Order to Defendant

and all counsel of record.



                                                  9
Case 3:11-cr-00015-NKM Document 70 Filed 07/16/21 Page 10 of 10 Pageid#: 366



                   16th
     Entered this ______ day of July, 2021.




                                              10
